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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS


EDWARD RASCHEN,                              )
                                             )
                             Plaintiff,      )
                                             )
        v.                                   )              Case No. 6:20-cv-01018-KHV-ADM
                                             )
UNIFIED SCHOOL DISTRICT NO. 506              )
ALTAMONT, KS,                                )
                                             )
                             Defendant.      )


                                          ADR REPORT

TYPE OF ADR:                 Mediation ☒             Other: __________________☐

Name of Mediator or other Neutral: Jeff Leonard

ADR Session Held (date): June 16, 2022

Additional Session(s) Held, if any (date): None.

Results of Referral to ADR

☐ Case settled before ADR                    ☐ Case did not settle

☒ Case settled at ADR session                ☐ Case settled in part

Mediation Fees (answer only if private mediator used):

Did neutral serve pro bono?          Yes ☐           No ☒
Did neutral serve for a reduced fee? Yes ☒           No ☐

Status of litigation when ADR occurred - please check one:

TRO ☐         pre-discovery ☐         partial discovery ☒            discovery complete ☐



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pending dispositive motion ☐           After dispositive motion ☐     other ☐ ____________

Length of ADR session:           8.5    hours


                                                Respectfully submitted,

                                                /s/ Terelle A. Mock
                                                Terelle A. Mock                              #21465
                                                Blake K. Porter                              #28289
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 17th day of June, 2022, I electronically filed the foregoing
with the clerk of the court by using the CM/ECF system which will send a notice of electronic
filing to the following:

        Christopher A. McElgunn, #13359
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        I further certify that I mailed the foregoing document and the notice of electronic filing
by first-class mail to the following non-CM/ECF participants: No one.

                                                       /s/Terelle A. Mock
                                                       Terelle A. Mock


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